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 1                                                                     The Honorable Robert S. Lasnik

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   JOSEPH A. NELSON, individually and as
     Personal Representative of the ESTATE OF             Case No. 3:18-cv-05184-RSL
10   JOEL A. NELSON, and its statutory
     beneficiaries,                                       FIRST AMENDED COMPLAINT FOR
11                                                        DAMAGES UNDER 42 U.S.C. § 1983, 42
                                   Plaintiff,             U.S.C. § 1985 AND WASHINGTON LAW
12
     vs.                                                  JURY DEMAND
13
     THURSTON COUNTY, a Washington
14   municipality; RODNEY T. DITRICH,
     individually; JOHN D. SNAZA, individually;
15   and DOES 1 through 15, individually,

16                                 Defendants.

17          COMES NOW, the above named plaintiff, Joseph A. Nelson, individually and as Personal

18   Representative of the Estate of Joel A. Nelson, and its statutory beneficiaries, by and through his

19   attorney, Douglas R. Cloud, and for cause of action against the defendants, Thurston County, a

20   Washington municipality, Rodney T. Ditrich, individually, John D. Snaza, individually, and Does

21   1 through 15, individually, does hereby allege upon information and belief as follows:

22                                   JURISDICTION AND VENUE

23                                                   I.

24          This Court has Jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343. This Court

25   has ancillary jurisdiction pursuant to 28 U.S.C. § 1367.

26   //

                                                                      LAW OFFICE OF DOUGLAS R. CLOUD
     FIRST AMENDED COMPLAINT FOR                                      1008 Yakima Avenue, Suite 202
     DAMAGES - JURY DEMAND - 1 OF 13                                  Tacoma, Washington 98405
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 1                                                   II.

 2          Venue is appropriate in the Western District of Washington pursuant to 28 U.S.C. § 1391

 3   because at least some of the defendants reside in this judicial district and because the events and

 4   omissions giving rise to the claims alleged herein occurred within the Western District of

 5   Washington.

 6                                               PARTIES

 7                                                   III.

 8          Joseph A. Nelson is the properly appointed Personal Representative of the Estate of Joel A.

 9   Nelson. The appointment was made by court order dated June 15, 2016, under Mason County

10   Superior Court Cause No. 16-4-00103-4. Joseph A. Nelson brings this lawsuit individually and on

11   behalf of the Estate and statutory beneficiaries of Joel A. Nelson. Joseph A. Nelson was Joel A.

12   Nelson’s father. Joseph A. Nelson and Joel A. Nelson had an adult father/son relationship that

13   provided to Joseph A. Nelson the companionship of his son.

14                                                   IV.

15          Defendant, Rodney T. Ditrich, is a Deputy Sheriff employed by the Thurston County

16   Sheriff’s Department. Defendant Ditrich was working under color of state law and within the course

17   and scope of his employment and agency at all relevant times described herein.

18                                                   V.

19          Defendant, Thurston County, is a local government subdivision, a municipality, within the

20   State of Washington. Thurston County, on January 5, 2016, employed Rodney T. Ditrich and other

21   sheriff’s deputies who responded to the intersection area of 93rd Avenue and Tilley Road in Thurston

22   County as a result of the incident described herein.

23                                                   VI.

24          Defendant, John D. Snaza, is the Sheriff of Thurston County. Defendant Snaza was working

25   under color of state law and within the course of his employment and agency at all relevant time

26   described herein.

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 1                                                   VII.

 2          Does 1 through 15 are entities and persons involved with the unconstitutional, reckless,

 3   wanton, unreasonable and intentional acts alleged herein. Defendant Does 1 through 15 were

 4   working under color of state law and within the course of their employment. These entities and

 5   persons are not currently known to plaintiff. Upon discovery of their identity, plaintiffs reserve the

 6   right to add them as defendants in this cause of action.

 7                                    STATUTORY COMPLIANCE

 8                                                   VIII.

 9          On or about January 5, 2018, an administrative Claim for Damages was served upon the

10   defendant, Thurston County. Any prerequisite to the maintenance of this action imposed by RCW

11   4.96 has been met.

12                                       STATEMENT OF FACTS

13                                                    IX.

14          On January 5, 2016, the defendant, Rodney Ditrich, in his capacity as a Deputy Sheriff for

15   Thurston County, violated Joel A. Nelson’s rights guaranteed by the Fourth and Fourteenth

16   Amendments to the United States Constitution by seizing him and arresting him without probable

17   cause. In the course of this illegal arrest, Defendant Ditrich used unreasonable force. Joel A. Nelson

18   died as a result. Rodney Ditrich’s decision to use both a taser and a firearm to seize and arrest Joel

19   A. Nelson was an unconstitutional and unreasonable use of deadly force.

20                                                    X.

21          Joel A. Nelson was initially contacted by Defendant Ditrich on or near the south side of the

22   public right of way on 93rd Avenue in Thurston County, Washington, just east of the intersection of

23   93rd Avenue and Tilley Road, which was at or near a residence and premises occupied by Luis

24   Ramos and Catalina Robles and their children. Defendant Ditrich claims he noticed Joel A. Nelson

25   as he was driving his patrol car westbound on 93rd Avenue. As he approached the intersection of

26   Tilley Road and 93rd Avenue, Defendant Ditrich claimed he saw a suspicious person, later identified

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 1   as Joel A. Nelson, who he thought may have been on private property. Defendant Ditrich stopped

 2   his vehicle by pulling off to the south side of 93rd Avenue. He parked and exited his patrol vehicle

 3   and confronted Joel A. Nelson. Defendant Ditrich’s patrol vehicle was facing southbound with the

 4   back of the patrol vehicle closest to the traveled portion of 93rd Avenue, which was directly to the

 5   north of Defendant Ditrich’s patrol vehicle.

 6                                                    XI.

 7          After several minutes of conversation, Defendant Ditrich made the decision to arrest Joel A.

 8   Nelson. Defendant Ditrich arrested Joel A. Nelson without probable cause. Defendant Ditrich,

 9   during the arrest, fired a taser and his firearm at Joel A. Nelson. Defendant Ditrich used unreasonable

10   force to effect the arrest, depriving Joel A. Nelson of his right to life without due process of law

11   contrary to the Fourth Amendment and Fourteenth Amendment of the United States Constitution.

12                                                    XII.

13          Deputies of the Thurston County Sheriff’s Office and other agencies arrived at the scene

14   shortly after Ditrich’s “shots fired” call was relayed from the scene.

15                                                   XIII.

16          Officers from four counties, Thurston, Lewis, Mason and Gray’s Harbor, assembled after the

17   shooting at the scene. This four county organization is known as the “Critical Incident Investigation

18   Team (CIIT).”

19                                                   XIV.

20          The scene of Ditrich’s shooting of Joel A. Nelson was not adequately secured by responding

21   law enforcement officers resulting in critical evidence at the scene being lost, overlooked, destroyed

22   and/or removed. Ditrich’s patrol vehicle was not secured. Thurston County through its employees,

23   arranged for Ditrich’s patrol vehicle to be promptly cleaned and repaired after the incident, thus

24   intentionally or recklessly destroying vital evidence. The patrol vehicle was deliberately cleaned of

25   blood spatter and other physical evidence remaining in and on the patrol vehicle on January 7, 2016.

26   //

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 1                                                   XV.

 2           Thurston County, by and through Sheriff John D. Snaza and Prosecuting Attorney Jon

 3   Tunheim, ratified Defendant Ditrich’s unconstitutional arrest and unconstitutional use of lethal force

 4   to effect that arrest. They also ratified the decision by other employees of the Sheriff’s Office and

 5   other Thurston County departments to destroy evidence and fail to investigate the inconsistences in

 6   Defendant Ditrich’s version of the events. Thurston County, through Sheriff Snaza and Prosecuting

 7   Attorney Tunheim, with reckless indifference to Joel A. Nelson or the plaintiff’s constitutional

 8   rights, recklessly and/or intentionally ignored evidence that contradicts Defendant Ditrich’s self

 9   serving explanation of the events which resulted in Joseph A. Nelson’s death.

10                                                   XVI.

11           Chief Criminal Deputy Prosecutor, J. Andrew Toynbee, filed his report on the incident on

12   February 12, 2016. The report was filed before the Washington State Patrol crime laboratory had

13   returned all of its laboratory reports.

14                                                  XVII.

15           An autopsy was performed on Joel A. Nelson at the request of Thurston County on January

16   7, 2016. Dr. Gina Fino, M.D., performed the autopsy. She concluded that a bullet that entered Joel

17   A. Nelson’s right shoulder, traveled through his torso from right to left in a downward trajectory and

18   clipped Mr. Nelson’s heart. Dr. Fino concluded that this gunshot wound was the cause of Mr.

19   Nelson’s death.

20                                                  XVIII.

21           After Joel A. Nelson’s death, Deputy Ditrich’s actions were ratified by Thurston County.

22   Chief Deputy of Field Operations Bureau, Brad Watkins, and Chief Criminal Deputy Prosecutor, J.

23   Andrew Toynbee. Both concluded on behalf of Thurston County that Mr. Nelson’s death was a

24   result of Deputy Ditrich’s justified use of force. Sheriff Snaza and Prosecuting Attorney Jon

25   Tunheim then ratified the conclusions of their subordinates. The Sheriff, Chief Deputy Watkins, the

26   Prosecuting Attorney and the Chief Criminal Deputy Prosecutor, with reckless indifference,

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 1   deliberately ignored Defendant Ditrich’s lack of probable cause for the arrest. They ignored the

 2   requirements for the use of force as set forth in Tennessee v. Garner, 471 U.S. 1 (1985). They

 3   ignored inconsistencies in Deputy Ditrich’s self-serving explanations for his actions. They ignored

 4   contrary evidence. As a result, Thurston County ratified Defendant Ditrich’s unconstitutional arrest

 5   and unreasonable use of force. Consequently, Thurston County is liable for Defendant Ditrich’s

 6   actions. Thurston County’s decision to exonerate Defendant Ditrich is contrary to the evidence and

 7   to the witnesses statements. Defendant Ditrich’s actions violate the United States Supreme Court’s

 8   ruling in Tennesee v. Garner, 471 U.S. 1 (1985), as well as the statutory and common law of the

 9   State of Washington.

10                                                    XIX.

11          Plaintiff is informed and believes, and therefore alleges, that the violation of Joel A. Nelson’s

12   constitutional rights and Thurston County’s subsequent destruction of evidence were caused by the

13   defendants’ reckless indifference to Joel A. Nelson’s and the plaintiff’s constitutional rights and the

14   customs, policies, and/or practices of authorized policy makers of defendant, Thurston County,

15   including Sheriff Snaza and Prosecuting Attorney Tunheim, and the policy makers and/or

16   supervisory officials of the defendant, Thurston County’s Sheriff’s Department, which encouraged,

17   authorized, directed, convinced and/or ratified the destruction of evidence, and the unconstitutional

18   arrest, and use of force, and unlawful conduct complained of in this complaint. These customs,

19   policies and/or practices were the moving force behind the violations herein alleged and include

20   exposing persons such as Joel A. Nelson to the unreasonable use of force during an unconstitutional

21   arrest made without probable cause. Subsequently, Thurston County orchestrated a cover-up, as

22   alleged herein by ignoring and destroying evidence contradictory to Defendant Ditrich’s self serving

23   statements. Nonetheless Defendant Ditrich’s own statements demonstrate that he arrested Joel A.

24   Nelson without probable cause and that in the process of the arrest he used unreasonable force,

25   causing Joel A. Nelson’s death. Defendant Ditrich was so poorly trained and supervised by Sheriff

26   Snaza that he apparently did not realize that he was required to have probable cause prior to an arrest.

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 1   Additionally, it is alleged that Defendant Ditrich was so poorly trained and supervised by Sheriff

 2   Snaza that, without legal justification, he then used deadly force upon Joel A. Nelson. Defendant

 3   Ditrich was so poorly trained and supervised by Sheriff Snaza that he failed to de-escalate the

 4   situation. He failed to call for backup. Sheriff Snaza has created a policy, practice, and/or custom

 5   that encourages deputies involved in confrontations with citizens and those deputies investigating

 6   such incidents to destroy evidence and to cover-up deputy mistakes and unconstitutional conduct.

 7   Indeed, this is the policy and custom of Thurston County.

 8                                                   XX.

 9          Additionally, the Thurston County Sheriff’s Office and Sheriff John D. Snaza failed to

10   maintain adequate training and policies in regards to necessity of probable cause prior to arrest.

11   Defendant Snaza failed to train Defendant Ditrich on the proper use of force when effecting an arrest.

12                                                   XXI.

13          Defendant Snaza, by sanctioning and approving of the destruction of evidence from the scene

14   including evidence in and on Defendant Ditrich’s patrol vehicle, ratified and encouraged the

15   deliberate destruction of evidence related to Defendant Ditrich’s killing of Joel A. Nelson. This

16   behavior is indicative of a practice of encouraging Thurston County Sheriff’s employees to cover

17   up wrongdoing by other Sheriff’s Deputies. The actions of Sheriff Snaza in allowing a cover up of

18   the circumstances of Joel A. Nelson’s death, together with the action of the other defendants herein,

19   amount to conspiracy by the defendants, and each of them, which was intended to destroy and

20   deprive the Estate of Joel A. Nelson of property rights. Thurston County’s actions to destroy

21   evidence by cleaning and repairing Defendant Ditrich’s patrol vehicle and, in the process, destroying

22   important blood spatter evidence, impressions of hand prints and other evidence such as DNA and

23   gunshot residue evidence, is evidence of a conspiracy amongst the defendants herein, and each of

24   them, to destroy the Estate of Joel A. Nelson’s property rights without due process of law pursuant

25   to 42 U.S.C. § 1983.      Thurston County has preserved vehicles held as evidence in death

26   investigations for decades. The failure to preserve the evidence in and on Defendant Ditrich’s patrol

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 1   vehicle stands in stark contrast.

 2                                                   XXII.

 3           Defendant Snaza and Prosecuting Attorney Tunheim are policy makers as it pertains to law

 4   enforcement policies in Thurston County. Defendant Snaza and Prosecuting Attorney Tunheim have

 5   ratified the illegal and unconstitutional arrest and use of force on Joel A. Nelson. It is also believed

 6   and therefore alleged that Defendant Snaza approved, or was recklessly indifferent, to the destruction

 7   of evidence in and on Defendant Ditrich’s patrol vehicle.

 8                                                   XXIII.

 9           Other employees of Thurston County or other counties and other entities who approved or

10   participated in the destruction of evidence in and on Defendant Ditrich’s patrol car are denoted

11   herein as Does 1 through 15.

12                                                   XXIV.

13           Each of the defendants, individually or in concert with the other defendants, caused, in whole

14   or in part, and is legally responsible for the incident and unlawful conduct alleged herein and the

15   damages alleged herein by personally participating in the unlawful conduct, or acting jointly or

16   conspiring with others to destroy evidence and cover up Defendant Ditrich’s unlawful conduct and

17   errors and omissions and by authorizing or allowing, explicitly or implicitly policies, plans, customs,

18   practices, actions or omissions that led to the unlawful conduct and by failing to take action to

19   prevent the unlawful conduct, by failing to initiate and maintain adequate training or supervision,

20   and the reckless and/or deliberate indifference to the Estate of Joel A. Nelson’s constitutional rights,

21   and by ratifying the unlawful conduct that occurred by agents and deputies under their direction and

22   control, including failing to take remedial or disciplinary action.

23                                                  CLAIMS

24                                       FIRST CAUSE OF ACTION:

25           FEDERAL CIVIL RIGHTS VIOLATION PURSUANT TO 42 U.S.C. § 1983

26                                                   XXV.

                                                                           LAW OFFICE OF DOUGLAS R. CLOUD
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 1           The plaintiff realleges the allegations contained in paragraphs I through XXIV herein, as

 2   though fully set forth at this point.

 3                                                  XXVI.

 4           That, as set forth herein, the defendants, Thurston County, Rodney T. Ditrich, John D. Snaza

 5   and Does 1 through 15, are liable for compensatory and punitive damages as the law allows for

 6   subjecting or causing to be subjected Joel A. Nelson to a deprivation of his rights guaranteed by the

 7   Fourth Amendment and Fourteenth Amendment to the Constitution of the United States to be free

 8   from unreasonable seizures, arrest without probable cause, and the unreasonable and unconstitutional

 9   use of force. Joel A. Nelson was seized and was deprived of his life without due process of law.

10                                                  XXVII.

11           That, by virtue of the facts set forth herein, the defendant, Rodney T. Ditrich, is liable for

12   punitive damages for subjecting, or causing to be subjected, Joel A. Nelson, a citizen of the United

13   States, to a deprivation of the rights guaranteed by the Fourth Amendment to the Constitution of the

14   United States and 42 U.S.C. § 1983 to be free from unreasonable seizure of his person and to be free

15   from the deprivation of his life through the unreasonable use of force. Defendant Ditrich did this

16   by performing the unreasonable seizure of Joel A. Nelson’s person without probable cause. In the

17   process of arresting Joel A. Nelson, Defendant Ditrich used unreasonable force.

18                                    SECOND CAUSE OF ACTION:

19           FEDERAL CIVIL RIGHTS VIOLATION PURSUANT TO 42 U.S.C. § 1983

20                                                 XXVIII.

21           The plaintiff realleges the allegations contained in paragraphs I through XXVII herein, as

22   though fully set forth at this point.

23                                                   XXIX.

24           That, by virtue of the facts set forth herein, the defendants, Thurston County, Rodney T.

25   Ditrich, John D. Snaza and Does 1 through 15 are liable for compensatory and punitive damages as

26   a result of their conspiracy and efforts to deprive the Estate of Joel A. Nelson of its property rights

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 1   without due process of law. Those property rights are the causes of action for violation of Joel A.

 2   Nelson’s civil rights and for personal injury and wrongful death as alleged herein perpetrated against

 3   Joel A. Nelson and the Estate of Joel A. Nelson.

 4                                      THIRD CAUSE OF ACTION:

 5             NEGLIGENCE CAUSING PERSONAL INJURY UNDER STATE LAW

 6                                                  XXX.

 7           The plaintiff realleges the allegations contained in paragraphs I through XXIX herein, as

 8   though fully set forth at this point.

 9                                                  XXXI.

10           That, by virtue of the facts set forth herein, the defendants, Thurston County, Rodney T.

11   Ditrich, John D. Snaza and Does 1 through 15 committed the tort of negligence resulting in personal

12   injury. The plaintiff brings this cause of action pursuant to RCW 4.20.046. This state law cause of

13   action is ancillary to the federal law claims made herein.

14                                    FOURTH CAUSE OF ACTION:

15            NEGLIGENCE CAUSING WRONGFUL DEATH UNDER STATE LAW

16                                                 XXXII.

17           The plaintiff realleges the allegations contained in paragraphs I through XXXI herein, as

18   though fully set forth at this point.

19                                                 XXXIII.

20           That, by virtue of the facts as set forth herein, the defendants, Thurston County, Rodney T.

21   Ditrich, John D. Snaza and Does 1 through 15 committed the tort of wrongful death pursuant to

22   RCW 4.20.010. This state law cause of action is ancillary to the federal claims made herein.

23                                                 XXXIV.

24           These actions as set forth herein are maintained for the Estate of Joel A. Nelson, Joseph A.

25   Nelson individually, and for the statutory beneficiaries pursuant to RCW 4.20 et seq., said

26   beneficiaries are believed to include Joseph A. Nelson, father of Joel A. Nelson, and Luanna Sutters,

                                                                        LAW OFFICE OF DOUGLAS R. CLOUD
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 1   mother of Joel A. Nelson.

 2                FIFTH CAUSE OF ACTION: FALSE ARREST UNDER STATE LAW

 3                                                  XXXV.

 4           The plaintiff realleges the allegations contained in paragraphs I through XXXIV herein, as

 5   though fully set forth at this point.

 6                                                 XXXVI.

 7           That, by virtue of the facts as set forth herein, the defendants, Rodney T. Ditrich and

 8   Thurston County, committed the tort of false arrest. This state law cause of action is ancillary to the

 9   federal claims made herein.

10                 SIXTH CAUSE OF ACTION: JOSEPH NELSON’S INDIVIDUAL

11            FOURTEENTH AMENDMENT SUBSTANTIVE DUE PROCESS CLAIM

12                                                 XXXVII.

13           The plaintiff realleges the allegations contained in paragraphs I through XXXVI herein, as

14   though fully set forth at this point.

15                                                XXXVIII.

16           That the plaintiff, Joseph A. Nelson, brings his individual claim against the defendants, and

17   each of them, for violating his Fourteenth Amendment right to substantive due process to the

18   companionship of his son, Joel A. Nelson. Joel A. Nelson was killed without justification by

19   Rodney T. Ditrich. Rodney T. Ditrich acted with deliberate indifference and/or with a purpose to

20   harm Joel A. Nelson when he shot Joel A. Nelson at least three times while also using a Taser on

21   Joel A. Nelson.

22           WHEREFORE, plaintiff, Joseph A. Nelson, individually and as Personal Representative

23   of the Estate of Joel A. Nelson, prays for relief as follows:

24           1.      For judgment representing compensatory damages against the defendants, and each

25   of them, jointly and severally in amounts to be established at trial;

26           2.      For judgment representing punitive damages against the individual defendants and

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 1   each of them, jointly and severally in amounts to be established at trial;

 2          3.      For judgment representing compensatory and punitive damages against the

 3   defendants, and each of them, jointly and severally for Joseph A. Nelson’s damages for his

 4   individual claims as set forth herein in an amount to be established at trial;

 5          4.      For plaintiff’s attorney fees and costs incurred herein pursuant to 42 U.S.C. § 1988,

 6   and disbursements herein to be taxed, and for pre-judgment interest;

 7          5.      For leave to amend this Complaint to conform to the evidence developed during

 8   discovery and/or presented at trial;

 9          6.      For leave to amend this Complaint to substitute true names of the defendants currently

10   denoted Does 1 through 15;

11          7.      For leave to amend this Complaint to more fully set forth Joseph A. Nelson’s and

12   Luanna Sutters’ individual claims; and

13          8.      For such other and further relief the Court deems just and equitable.

14          DATED this 29th day of May, 2021.

15                                                         LAW OFFICE OF DOUGLAS R. CLOUD

16

17                                                         /s/ Douglas R. Cloud
                                                           DOUGLAS R. CLOUD, WSBA #13456
18                                                         Law Office of Douglas R. Cloud
                                                           1008 Yakima Avenue, Suite 202
19                                                         Tacoma, WA 98405
                                                           Telephone: 253-627-1505
20                                                         Fax: 253-627-8376
                                                           E-mail: drc@dcloudlaw.com
21                                                         Attorney for Plaintiff

22

23

24

25

26

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 1                                     CERTIFICATE OF SERVICE
             The undersigned declares as follows:
 2           1.      I am over the age of 21 and not a party to this action.
             2.      I am an employee of Douglas R. Cloud, Attorney at Law, Attorney for Plaintiff.
 3           3.      On this day, I certify that I electronically filed the foregoing with the Clerk of the
     Court by using the CM/ECF system, which will send notification of such filing to the counsel of
 4   record for the defendants, and that I also forwarded a true and correct copy to counsel of record for
     the defendants in the following manner:
 5    Counsel for Defendants, Thurston County and Rodney T. Ditrich:                       G Messenger
      W. Dale Kamerrer, WSBA #8218                                                         G US Mail
 6    John E. Justice, WSBA #23042                                                         G Facsimile
      LAW LYMAN DANIEL KAMERRER & BOGDANOVICH, P. S.                                       O Email
 7    PO Box 11880                                                                         O CM/ECF
      Olympia, WA 98508-1880
 8    Physical Address:
      2674 R W Johnson Blvd SW, Tumwater, WA 98512
 9    P: 360-754-3480, F: 360-357-3511
10    Scott C. Cushing, WSBA # 38030
      Senior Deputy Prosecuting Attorney
11    TC PROSECUTING ATTORNEY’S OFFICE
      Civil Division - Bldg No. 5
12    2000 Lakeridge Dr SW
      Olympia WA 98502
13    P: 360-786-5574
      Emails: dkamerrer@lldkb.com; jjustice@lldkb.com;
14    cushins@co.thurston.wa.us;
15    Counsel for Defendant, John Snaza:                                                   G Messenger
      Gregory E. Jackson, WSBA #17541                                                      G US Mail
16    John R. Nicholson, WSBA #30499                                                       G Facsimile
      JACKSON & NICHOLSON, P.S.                                                            O Email
17    900 SW 16th St, Ste 215                                                              O CM/ECF
      Renton WA 98057
18    P: 206-582-6001, F: 206-466-6085
      Emails: Greg@jnseattle.com; John@jnseattle.com
19
       Donald R. Peters, Jr., WSBA #23642
20     Senior Deputy Prosecuting Attorney
       TC PROSECUTING ATTORNEY’S OFFICE
21     Civil Division - Bldg No 5
       2000 Lakeridge Dr SW
22     Olympia WA 98502
       P: 360-786-5574
23     Emails: Gregj@fjtlaw.com; johnn@fjtlaw.com; petersr@co.thurston.wa.us
              I certify under penalty of perjury under the laws of the State of Washington that the foregoing
24   is true and correct.
              Dated at Tacoma, Washington this 29th day of May, 2021.
25
                                                             /s/ Carrie L. Marsh
26                                                           CARRIE L. MARSH

                                                                         LAW OFFICE OF DOUGLAS R. CLOUD
     FIRST AMENDED COMPLAINT FOR                                         1008 Yakima Avenue, Suite 202
     DAMAGES - JURY DEMAND - 13 OF 13                                    Tacoma, Washington 98405
     Case No. 3:18-cv-05184-RSL                                          Phone: 253-627-1505 Fax: 253-627-8376
